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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO

 TIFFANY GRAYS,

                Plaintiff,

 v.                                                              Civil Action No. 20-CV-00451

 BLACKHAWK ACQUISITION LLC

                Defendant.


      DEFENDANT BLACKHAWK ACQUISITION LLC’S BRIEF IN OPPOSITION TO
           PLAINTIFF’S MOTION FOR JUDGMENT ON THE PLEADINGS

        Defendant Blackhawk Acquisition LLC (“ProMax”), through undersigned counsel,

submits its brief in opposition to the motion filed by Plaintiff Tiffany Grays (“Plaintiff”) styled

“Plaintiff’s Motion for Judgment on the Pleadings.” (Dkt. 70, “Motion”). While the Motion is

functionally a motion to strike pursuant to Federal Rule of Civil Procedure 12(f), regardless of

how the Court characterizes it, it should be denied.

  I.    Introduction

        This case arises from Plaintiff’s attempt to purchase a vehicle from two auto dealer

clients for whom ProMax provided services at the relevant times in the complaint: TSG Auto

(“TSG”) and AutoMart. She claims that in the course of TSG’s and AutoMart’s checking her

credit after she submitted credit applications, ProMax violated the Fair Credit Reporting Act, 15

U.S.C. §§ 1681 et seq. (“FCRA”) and several state laws. Before filing this action, Plaintiff sued

TSG and AutoMart, claiming the two dealers violated the FCRA and the same state laws by

improperly representing that her credit application would result in a “soft inquiry” rather than a

“hard inquiry.” See Grays v. AutoMart et al., No. 1:18-cv-01761 (D. Colo.); Grays v. TSG Auto
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et al., No. 1:18-cv-01762 (D. Colo.). On February 20, 2020, Plaintiff sued ProMax pursuing

similar theories based on the same transactions.

    II.   Argument

      A. To the extent Plaintiff’s Motion is for judgment on the pleadings under Fed. R. Civ.
         P. 12(c), it is procedurally improper.1

          A motion for judgment on the pleadings is improper because the parties disagree about

the facts. Where a plaintiff moves for judgment on the pleadings, the fact allegations in the

answer are taken to be true, but those of the complaint are taken as true only where and to the

extent they do not conflict with those of the answer. See Landmark Am. Ins. Co. v. VO

Remarketing Corp., 2014 WL 2673593, at *2 (D. Colo. June 13, 2014), aff’d, 619 F. App’x 705

(10th Cir. 2015). The court must draw any inferences taken from the pleadings in the light most

favorable to the nonmoving party: here, ProMax. See Ramirez v. Dep’t of Corr., 222 F.3d 1238,

1240 (10th Cir. 2000).



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  Plaintiff also asserts that “Defendant’s Answer fails to deny the allegations in paragraph 34 of the Complaint.”
(Pl’s Mot. at 8.) In its Answer, Defendant responded to each numbered paragraph of the Complaint by matching its
answer to the exact number used in the Complaint. Paragraph 15 of the Answer, for example, “denies the
allegations in paragraph 15” of the Complaint, and so forth. (See Dkt. 52 ¶ 15.) The one exception is paragraph 34
of the Answer, which contains a typographical error and states that “Defendant denies the allegations in paragraph
24,” when it is paragraph 34 of the Complaint being denied. Id. at ¶ 34 (emphasis added). Given the Answer’s
overall structure, that every other numbered paragraph in the Answer corresponds to that in the Complaint and that
the Defendant already denied the allegations in paragraph 24 of the Complaint earlier (see id. at ¶ 24), the use of the
wrong number in paragraph 34 of the Answer is obviously a typographical error, a matter courts will generally
pardon and that certainly does not render an “allegation to be deemed admitted” (Pl’s Mot. at 8.) See, e.g., United
States v. Smith, 2019 WL 6336884, at *2 n.1 (E.D.N.Y. Sept. 30, 2019) (noting that because there “appears to be a
typographical error in the numbering of the paragraphs in the Complaint,” the court itself would simply re-designate
the erroneous paragraph); Martin v. U.S. Bank Nat’l Ass’n, 2012 WL 12875511, at *4 n.8 (N.D. Ga. Dec. 3, 2012)
(stating that plaintiff cited the incorrect statutory provision in support of his claim, but cited it correctly in other
filings, and thus “the Court overlook[ed] plaintiff’s typographical error and analyze[d] his claim under the proper
section”); Doe v. Goord, 2004 WL 2829876, at *1 n.1 (S.D.N.Y. Dec. 10, 2004) (construing erroneous citations to
statutory provisions as “merely typographical mistakes”). Should the Court decline to construe the Answer as such,
ProMax requests leave to amend its Answer to correct the obvious typographical error.



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        In this case, the parties’ respective pleadings disagree on numerous material factual

allegations, making judgment on the pleadings inappropriate. See, e.g., Wright & Mille, 5C Fed.

Prac. & Proc. Civ. § 1367 (3d ed.) (“[J]udgment on the pleadings only has utility when all

material allegations of fact are admitted or not controverted in the pleadings and only questions

of law remain to be decided by the district court”). For example, ProMax disputes Plaintiff’s

allegations that any conduct attributable to ProMax caused her credit score to drop (Answer at ¶¶

7, 19,) that any party lacked Plaintiff’s consent to access her report (id. at ¶¶ 34, 84,) that

ProMax was responsible for any misrepresentations relied upon by Plaintiff (id. at ¶¶ 96-102,) or

that ProMax failed to fulfill any other duties under the law.

        To this end, Plaintiff improperly refers to numerous documents outside of the pleadings

throughout her Motion, including an affidavit attached to Plaintiff’s opposition to an individual

defendant’s motion to dismiss and statements made by Defendant’s counsel during a discovery

hearing, among other extraneous materials. (See Pl’s Mot. at 2-4, 9-10.) If “matters outside the

pleadings are presented” in a motion under Rule 12(c), the court must either disregard the

materials outside of the pleadings or convert the motion into a motion for summary judgment

under Rule 56. Fed. R. Civ. P. 12(d); Woodie v. Berkshire Hathaway Homestate Ins. Co., 806 F.

App’x 658, 664 (10th Cir. 2020) (noting that when “outside materials are not excluded by the

court, failing to convert a 12(c) motion is reversible error unless the dismissal can be justified

without considering the outside materials”) (citation and internal quotation marks omitted).

        Converting Plaintiff’s motion to one for summary judgment is inappropriate at this

juncture because the factual record is not complete. Discovery does not close until March 7,

2023 (Dkt. 67). “[S]ummary judgment [should] be refused where the nonmoving party has not


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had the opportunity to discover information that is essential to his opposition” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 250 n.5 (1986).). The parties have yet to complete discovery.

For example, ProMax has pending before this Court a motion to compel Plaintiff to produce

relevant testimony and sworn statements she gave in her related cases against TSG and AutoMart

arising from the same factual scenario giving rise to her complaint here. (Dkt. 71.) No

depositions have yet been taken. Plaintiff makes no effort in her Motion whatsoever to

demonstrate that the material facts are not in dispute—and does not include a statement of

undisputed material facts pursuant to Federal Rule of Civil Procedure 56 and Local Rule

56.1(a)—a s would be required to make summary judgment appropriate.

   B. ProMax’s affirmative defenses have been sufficiently pled.

       Though styled as a motion for judgment on the pleadings, it appears that Plaintiff’s

Motion is chiefly focused on attacking certain of Defendant’s affirmative defenses as inadequate

and is functionally a motion to strike under Federal Rule of Civil Procedure 12(f). As an initial

matter, any motion to strike ProMax’s affirmative defenses is untimely. A motion to strike must

be made before responding to the challenged pleading or within twenty-one days after service of

a pleading to which no responsive pleading is permitted. Fed. R. Civ. P. 12(f); Gibson v.

Zavaras, 2010 WL 1931008, at *1 (D. Colo. May 13, 2010) (refusing to consider untimely

motion to strike). See also 5C FED. PRAC. & PROC. CIV. § 1380 (3d ed.). ProMax served its

answer to the Third Amended Complaint—the operative complaint in this case—on September

7, 2021 (Dkt. 54,) a year and a half ago.

       Regardless, ProMax’s affirmative defenses are plainly sufficient. Federal courts consider

motions to strike “a drastic remedy,” viewing them “with disfavor and infrequently grant such


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requests,” Malibu Media, LLC v. Batz, 2013 WL 2120412, at *2 (D. Colo. Apr. 5, 2013), and

generally requiring a successful motion to strike to demonstrate that the challenged “defense

cannot succeed under any circumstance.” Unger v. U.S. West, Inc., 889 F. Supp. 419, 422 (D.

Colo. 1995). See also, e.g., Cal. Dep’t of Toxic Substances Control v. Alco Pac., Inc., 217 F.

Supp. 2d 1028, 1033 (C.D. Cal. 2002) (“Motions to strike are generally regarded with disfavor

because of the limited importance of pleading in federal practice, and because they are often used

as a delaying tactic”); Wright & Miller, 5C Fed. Prac. & Proc. Civ. § 1380 (noting that federal

courts have established a standard under which it must be shown that the challenged defenses are

so unrelated to the plaintiff’s claims “as to be unworthy of any consideration as a defense and

that their presence in the pleading throughout the proceeding will be prejudicial”).2

        Plaintiff’s Motion seeks to strike Defendant’s First, Second, and Eighth Affirmative

Defenses (see Pl’s Mot. at 5-6, 8) as “fail[ing] as a matter of law” (see Pl’s. Mot. at 6-7). These

defenses are:

                                              First Affirmative Defense
                                              (Failure to State a Claim)

        The Complaint, and each cause of action thereof, fails to the extent it does not set
        forth facts sufficient to state a claim upon which relief may be granted, and further
        fails to state facts sufficient to entitle Plaintiff to the relief sought, or any other relief
        from Defendant.

                                            Second Affirmative Defense
                                                (Lack of Standing)

        The Complaint fails to the extent that Plaintiff lacks standing or has not taken action
        necessary to avail herself of the rights she claims. The alleged damages, if any, are
        speculative or uncertain and therefore not compensable.

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 See also Cal. Dep’t of Toxic Substances Control, 217 F. Supp. 2d at 1032; Herbst v. Ressler & Assocs., Inc., 2014
WL 4205294, at *9 (E.D. Mo. Aug. 22, 2014) (a defense is legally insufficient when, as a matter of law, the defense
cannot succeed under any circumstances).

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                                             Eighth Affirmative Defense
                                                  (Other Defenses)

         Defendant reserves the right to assert additional affirmative defenses at such time
         and to such extent as warranted by discovery and the factual developments in this
         case.

(Dkt. 54.) Plaintiff repeatedly alleges ProMax has failed to “substantiate” these defenses. But a

defendant cannot be expected to “be aware of all the necessary facts or even to know for sure

whether a particular affirmative defense is applicable,” before any fact discovery has occurred,

lest it risk “waiv[ing] affirmative defenses that are not pled.” Baum v. Faith Technologies, Inc.,

2010 WL 2365451, *3 (N.D. Okla. 2010).

         Plaintiff has not demonstrated that she has not been put on notice of ProMax’s defenses.

Affirmative defenses must simply be pled in “short and plain terms,” Fed. R. Civ. P. 8(b) and in

“simple, concise, and direct,” language. Fed. R. Civ. P. 8(d). An affirmative defense is sufficient

so long as it gives the plaintiff fair notice of the nature of the defense. Malibu Media, LLC v.

Ryder, No. 13-CV-00319-WYD-MEH, 2013 WL 4757266, at *2 (D. Colo. Sept. 4, 2013).3

“[T]he liberal pleading rules established by the Federal Rules of Civil Procedure apply to

the pleading of affirmative defenses.” Hassan v. U.S. Postal Service, 842 F.2d 260, 263 (11th

Cir.1988). Courts “avoid hypertechnicality in pleading requirements and focus, instead, on

enforcing the actual purpose of the rule.” Id.



3
 Plaintiff contends that the heightened “plausibility” standard articulated in Bell Atlantic Corp. v. Twombly, 550
U.S. 544 (2007) applies to the affirmative defenses. (Plfs Mot. at 5.) While some courts have applied the heightened
pleading standards in Iqbal to affirmative defenses, the standard does not apply to affirmative defenses in the Tenth
Circuit. Malibu Media, LLC v. Ryder, No. 13-CV-00319-WYD-MEH, 2013 WL 4757266, at *2 (D. Colo. Sept. 4,
2013) (“The Twombly/Iqbal plausibility pleading standard has not been extended to affirmative defenses in this
Circuit, and the Court declines to do so here”). Rather, an affirmative defense is sufficient if stated “in short and
plain terms” pursuant to Rule 8(b)(1)(A). Id. Plaintiff’s Motion fails under either standard.

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       Plaintiff’s argument that ProMax’s affirmative defenses “fail to give notice to Plaintiff” is

belied by her repeated attempts to engage with these defenses on the merits. For example, with

respect to the Second Affirmative Defense, Plaintiff argues that she relied on certain

representations made by TSG and AutoMart and this reliance forms the basis for the numerous

claims she has asserted here. (Plfs. Mot. at 3.) She argues that she suffered cognizable damages

sufficient to meet the injury-in-fact standard set forth in Spokeo, Inc. v. Robins, 578 U.S. 330

(2016). (Plfs. Mot. at 7.) Plaintiff is clearly on notice of ProMax’s defenses.

   C. Conclusion

       For the forgoing reasons, ProMax respectfully requests this Court deny the Motion.

Respectfully submitted,

DATED: January 20, 2023


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                                CERTIFICATE OF SERVICE


       I hereby certify that on the 20th day of January 2023, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF System which will then send a notification of

such filing (NEF) to the following:


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